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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                           Case No. 97‐CR‐0099(3) (PJS/RLE)

                     Plaintiff,

 v.                                                            ORDER

 BENJAMIN MATTHEW LOGAN,

                     Defendant.

       Defendant Benjamin Logan is serving a 540‐month sentence after being convicted

of multiple crimes arising out of his involvement in a multi‐state gun‐trafficking

conspiracy and his participation in the robbery of a gun shop during which two

employees were murdered. This matter is before the Court on Logan’s motion for

release under 18 U.S.C. § 3582(c)(1)(A)(i), under which a Court may reduce a

defendant’s term of imprisonment if it finds that “extraordinary and compelling reasons

warrant such a reduction[.]”

       Section 3582(c)(1)(A) permits a defendant to move for a sentence reduction, but

only after first submitting a request to the Bureau of Prisons (“BOP”) to bring a motion

for release on his behalf and giving the BOP an opportunity to act on his request.

Specifically, a defendant may move for a sentence reduction only “[1] after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau

of Prisons to bring a motion on the defendant’s behalf or [2] the lapse of 30 days from
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the receipt of such a request by the warden of the defendant’s facility, whichever is

earlier . . . .”

         Logan has submitted a letter addressed to the warden of his facility and dated

February 15, 2020. ECF No. 415‐1. Logan apparently contends that he submitted this

letter to the warden, as he says that he has not received a response. ECF No. 415‐2. The

government avers, however, that the Bureau of Prisons has no record of receiving

Logan’s letter. ECF No. 416 at 5. It therefore appears that Logan’s motion must be

denied for failure to exhaust.

         Even assuming that Logan did, in fact, exhaust his administrative remedies, the

Court would deny his motion on the merits. Under § 3582(c)(1)(A), a sentence

reduction must be “consistent with applicable policy statements issued by the

Sentencing Commission[.]” Under the sentencing guidelines promulgated by the

Sentencing Commission, “extraordinary and compelling reasons” for a reduction

include such circumstances as serious health conditions, advanced age and relative

length of remaining sentence, and the death or incapacity of the caregiver of the

defendant’s minor children. U.S.S.G. § 1B1.13, application notes.

         Logan does not point to any such circumstances. Instead, he contends that his

sentence is illegal and that his multiple attempts to challenge it through other

procedural mechanisms have failed. Section 3582(c)(1)(A), however, is not intended to



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serve as a vehicle to challenge the validity of a conviction or sentence. See United States

v. Handerhan, 789 F. App’x 924, 926 (3d Cir. 2019) (“§ 3582(c)(1)(A) provides a

mechanism to seek a reduction in the term of a sentence, not to challenge its validity.”).

       Logan also states that he has done well in prison, with a solid work history,

participation in educational and other programming, and no disciplinary record.

Logan’s efforts at rehabilitation are commendable, but they cannot by themselves justify

release under § 3582(c)(1)(A). See 28 U.S.C. § 994(t) (“Rehabilitation of the defendant

alone shall not be considered an extraordinary and compelling reason.”). Logan’s

motion for release is therefore denied.

                                          ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT defendant’s motion for release [ECF No. 415] is

DENIED.


 Dated: May 6, 2020                            s/Patrick J. Schiltz
                                               Patrick J. Schiltz
                                               United States District Judge




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